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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION


RHONDA CALAWAY                                                       PLAINTIFF

VS.                           NO. 4:09-CV-0061 SWW

PRACTICE MANAGEMENT SERVICES, INC.
And RICHARD JOHNS, M.D.                                              DEFENDANTS


               SEPARATE DEFENDANT RICHARD JOHNS, M.D.’S
                 BRIEF IN SUPPORT OF MOTION TO DISMISS

I.     Introduction

       Plaintiff Rhonda Calaway has abandoned all her claims against Separate

Defendant Richard Johns except for her claim of alleged retaliation under the Arkansas

Civil Rights Act (“ACRA”), Ark. Code Ann. § 16-123-108. Calaway argues that Dr.

Johns’ Motion should either be denied, or, in the alternative, this Court should certify this

question to the Arkansas Supreme Court. Based on the applicable authorities, the more

well-reasoned view is that individual supervisors, such as Dr. Johns, are not liable for

employment-related retaliation under the statute, and therefore certifying the question is

unnecessary.

       II.     Discussion

       Calaway has misapplied the analogy between the anti-retaliation provisions of the

Americans with Disabilities’ Act and the ACRA. The anti-retaliation provisions of these

statutes are similar, and based upon applicable authority, neither imposes individual

liability for retaliation based upon underlying claims of employment discrimination.




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       Both the ADA and the ACRA cover a broad range of conduct.                  The ADA

prohibits discrimination with respect to public services (Title II) as well as public

accommodations (Title III), in addition to employment (Title I). The ACRA establishes

causes of action for deprivation of rights secured by the state Constitution (Ark. Code

Ann. § 16-123-105), provides a cause of action for hate offenses (§ 106), and prohibits

discrimination with respect to public accommodations, property transactions, credit and

other contract transactions, and the right to vote on account of race, religion, national

origin, gender or disability. (§ 107)

       Section 108 of the ACRA provides a cause of action for retaliation with respect to

various types of rights created in the ACRA. Therefore, the ACRA does not limit the

retaliation provision to “employers,” because the ACRA is not limited in scope to

employment discrimination, just as the ADA is not limited to employment

discrimination. Like Congress did with respect to the ADA, the Arkansas legislature

drafted the anti-retaliation provision in such a way as to clearly cover the various types of

rights created in the statute not just employment.

       Recognizing this fact, federal courts have distinguished between individual

liability for retaliation related to the employment provisions of the ADA as opposed to

retaliation related to other areas covered under the ADA. Calaway cites several cases

involving retaliation claims against individuals under the ADA, but all of these cases are

Title II cases involving public services. These are not Title I cases involving complaints

of employment discrimination. In fact, one case Calaway cites specifically holds, “In

cases involving retaliation for the exercise of rights under Title I, involving employment,

courts have uniformly found that individual liability is not available,” and “Courts



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considering retaliation claims involving the exercise of Title I rights forbidding

employment discrimination have found that individual liability may not be imposed for

such claims.” Datto v. Harrison, 2009 U.S. Dist. LEXIS 82965, * 43-44 (E.D. Pa. 2009)

(emphasis added) (citing Albra v. Advan, Inc., 490 F.3d 826, 830-34 (11th Cir. 2007);

Butler v. City of Prairie Village, 172 F.3d 736, 744 (10th Cir. 1999); Stern v. Cal. State

Archives, 982 F. Supp. 690, 692-93 (E.D. Cal. 1997); McInerney v. Moyer Lumber and

Hardware, Inc., 244 F. Supp.2d 393 (E.D. Pa. 2002)).

       Calaway’s    underlying    protected       activity   is   based   upon   employment

discrimination. Therefore her analogy to public services/Title II cases under the ADA is

misplaced. The proper analogy is to the holding from Datto that individual liability

should not be imposed for retaliation claims involving exercise of employment rights.

Calaway’s retaliation claim is based on her alleged complaints involving employment

discrimination. Therefore, her claims against Dr. Johns for alleged retaliation under the

ACRA should be dismissed.

       Calaway’s argument that the weight of authority within the District is in her favor

is misplaced. To counter Judge Moody’s opinion in Whitney v. Unibar Maintenance

Services, Inc., 4:04:CV00561 JMM (E.D. Ark., June 24, 2004), Calaway cites to Judge

Eisele’s opinion in Vineyard v. EWI, 4:02:CV00609 GTE (E.D. Ark., Dec. 16, 2002) and

two additional opinions from Judge Wilson adopting the Vineyard decision without

discussion.

       The opinion in Vineyard is equivocal and states the Court, “cannot determine with

confidence whether Mr. Whiteside is entitled to dismissal under the ACRA’s retaliation

provision.” Judge Eisele went on to hold the ACRA retaliation provision is “arguably



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broader in scope” than the employment discrimination provision. Finally, he made a

“preliminary holding” subject to additional briefing, that plaintiff’s claim of retaliation

could proceed. Judge Eisele specifically noted the lack of case law and the opinion did

not include any discussion beyond the language of the statute itself. Judge Wilson

adopted the Vineyard holding in Sparr and Wilson without discussion. On the other

hand, the opinion in Whitney does contain a discussion regarding the statutory

construction of the ACRA to support the Court’s conclusion individual liability is not

imposed under the ACRA. Therefore while there is a split of authority within the

District, the Whitney decision is the most recent and contains the most thorough

discussion of the issue. Moreover, the Vineyard, Sparr, and Wilson decisions do not

consider the analysis of the similar ADA retaliation provision discussed above.

       As Calaway cannot pursue a claim against Dr. Johns individually for retaliation

related to complaints of sexual harassment, this Court should grant the remaining portion

of Dr. Johns’ Motion to Dismiss.

                                            Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on December 28, 2009, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which shall send notification of
such filing to the following:

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                                                   /s/ H. Wayne Young, Jr.




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